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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION


 RONNIE JAY HUNNEL, #02054965                       §
                                                    §
 VS.                                                §       CIVIL ACTION NOS. 4:21cv63, -64, -65
                                                    §
 DIRECTOR, TDCJ-CID                                 §

               .                      ORDER OF DISMISSAL
         The above-entitled and numbered civil actions were referred to United States Magistrate Judge
 Christine A. Nowak. The Report and Recommendation of the Magistrate Judge, which contains
 proposed findings of fact and recommendations for the disposition of such action, has been presented
 for consideration, and no objections having been timely filed, the Court concludes that the findings and
 conclusions of the Magistrate Judge are correct, and adopts same as the findings and conclusions of
 the Court.
         It is therefore ORDERED that the petitions for writ of habeas corpus are DISMISSED
 without prejudice as successive. All motions not previously ruled on are DENIED.
                   So ORDERED and SIGNED this 4th day of October, 2021.




                                                                       ____________________________________
                                                                       SEAN D. JORDAN
                                                                       UNITED STATES DISTRICT JUDGE
